Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1207 Filed 12/30/20 Page 1 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1208 Filed 12/30/20 Page 2 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1209 Filed 12/30/20 Page 3 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1210 Filed 12/30/20 Page 4 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1211 Filed 12/30/20 Page 5 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1212 Filed 12/30/20 Page 6 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1213 Filed 12/30/20 Page 7 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1214 Filed 12/30/20 Page 8 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1215 Filed 12/30/20 Page 9 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1216 Filed 12/30/20 Page 10 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1217 Filed 12/30/20 Page 11 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1218 Filed 12/30/20 Page 12 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1219 Filed 12/30/20 Page 13 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1220 Filed 12/30/20 Page 14 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1221 Filed 12/30/20 Page 15 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1222 Filed 12/30/20 Page 16 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1223 Filed 12/30/20 Page 17 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1224 Filed 12/30/20 Page 18 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1225 Filed 12/30/20 Page 19 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1226 Filed 12/30/20 Page 20 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1227 Filed 12/30/20 Page 21 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1228 Filed 12/30/20 Page 22 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1229 Filed 12/30/20 Page 23 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1230 Filed 12/30/20 Page 24 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1231 Filed 12/30/20 Page 25 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1232 Filed 12/30/20 Page 26 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1233 Filed 12/30/20 Page 27 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1234 Filed 12/30/20 Page 28 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1235 Filed 12/30/20 Page 29 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1236 Filed 12/30/20 Page 30 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1237 Filed 12/30/20 Page 31 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1238 Filed 12/30/20 Page 32 of 33
Case 2:20-cv-12230-PDB-EAS ECF No. 44-2, PageID.1239 Filed 12/30/20 Page 33 of 33
